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EXHIBIT 6
Part 2 of 3
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5. Contracting Functions

The contracting function encompasses several interrelated activities, including negotiating ©
contracts for new providers, renewing contracts for existing providers, and competitive bidding
for services not considered exempt from bidding. In order to better evaluate these functions, we
assessed the systems used to support them, the step-by-step processes that are executed, and
the staff who are performing them.

5.1 Overview and Analysis of Contracting Functions

Provider contracting processes vary depending on the provider and service type, and the
institution in need of a contracted service. We describe each contracting process in detail below.
In general, the contracting process begins when an institution identifies a need for a contracted
provider. A Contract Analyst at the institution first determines whether or not there is an
existing contract in place. If there is no existing contract for the needed service, the institution-
based Contract Analyst works with a Contract Analyst from the PC&IB to define the scope of
work. If the request is for an “exempt” provider (meaning exempt from bidding), the PC&IB
Contract Analyst contacts the provider directly to discuss the service need and negotiate the
rate. Institution-based and PC&IB Contract Analysts then gather and process all of the
paperwork and credentialing information needed to execute a contract. Table 10 identifies the
paperwork required for exempt and biddable contracts.

Table 10
Paperwork Required for Contract

Contract Request Submittal Checklist
Contract Request Form (886B);
Scope of Work

Civil Service Consideration Justification

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Market Survey

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Drug-Free Workplace Certification

Primary Laws, Rules and Regulations Regarding Conduct
and Association with State Prison Inmates

Letter of Intent from the Prospective Contractor

Payee Data Record

Certificate of Professional Liability Insurance

Certificate of Commercial General Liability Insurance (If
location of service includes in community)

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If the request is for a non-exempt provider, the PC&IB Contract Analyst determines whether a
Master Contract would be appropriate (if other institutions would also benefit from a bid for
that service). If the service is going to be bid as a Master Contract, the PC&JB Contract Analyst

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invites all other institutions to participate in the bid process. The Contract Analyst at PC&IB
then prepares the Invitation for Bid (IFB) package on behalf of all institutions wishing to
participate, and notifies potential bidders of the bid opportunity. As bids are received, the
PC&IB Contract Analyst analyzes and ranks them according to their rates and the providers’
small business status. Decisions are made regarding which providers will be awarded
contracts, and providers are notified. The credentials of awarded providers are verified, and
contract(s) are executed. Exhibit 1 on the next page illustrates the general flow of contracting
activities. Detailed flowcharts of contracting processes can be found in Appendix B.

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Exhibit 1

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To support its contracting efforts, COCR has begun to deploy a software program to facilitate its
document management functions, called ProdAgio Contracts. ProdAgio Contracts is a document
management system that is designed to streamline the authoring, reviewing, and executing of
contracts through a web-based interface, ProdAgio also stores contracts and related legal documents.
ProdAgio automates much of the contracting process, and reduces the need for physical storage of
paper documents.

In addition to Prod Agio, the entire CDCR agency (not just the healthcare division) will be
implementing a system called Business Information System (BIS) on October 1, 2008, which is based
on SAP’s Enterprise Resource Planning (ERP) product. The system will offer most, if not all of the
functionalities that ProdAgio offers, and possibly more, although the end product has not been fully
researched at this stage of NCI’s work, CDCR is continuing its rollout of ProdAgio, and plans to
continue using it in concert with the SAP BIS system as it is deployed. It is unclear how CDCR will
manage these two systems, and NCI was asked to make recommendations regarding optimal
integration. NCI has made some initial recommendations in this Phase 1 report, and plans a detailed
assessment of BIS/ProdAgio integration, along with a claims processing and network management
component in Phase 2. At this point, NCI’s understanding is that the SAP BIS system includes a
feature called Document Builder, which functions as a document management system similar to
ProdAgio Contracts. SAP Document Builder provides a simple dialog-based interface that guides
users through a series of interactive questions and fill-in responses, and offers an option to use a
template-based model to create formatted contracts. The system can also be used to create
attachments, clauses, terms, conditions and other requirements. Like ProdAgio Contracts, SAP
Document Builder stores contracts and contract-related content such as regulatory clauses, terms, and
conditions. It also has the ability to notify users of available updates, and it assists users in
determining the relevancy of document content.

Currently, the PC&IB is focusing exclusively on full implementation of the ProdAgio Contracts
software in its contracting functions. Four institutions (San Quentin, California State Prison
Sacramento, Pelican Bay and California Medical Facility) were transitioned from a manual contracts
process to a ProdAgio-based process starting in late 2007. Two more (Valley State Prison for Women
and Central California Women’s Facility) were centralized on January 31, 2008. In centralizing
‘contracting processes for these institutions, the Contract Analyst positions at the institutions were
moved to PC&IB and there are no longer Contract Analysts at these institutions. CDCR plans to
continue adding institutions to the centralized (ProdAgio) process throughout 2008. However, the
CDCR system-wide implementation of BIS may call into question the continued implementation of
ProdAgio and its potential integration with BIS. As part of Phase 1 of this project, NCI conducted a
preliminary assessment of the two systems. An important consideration is CDCR’s ability to process
healthcare claims accurately and efficiently, and the ability of the claims processing component to
interface with the contracting component. Our recommendations regarding this integration are
described in Chapter 8 (Claims Processing and Data Capture). Current contracting functions,
findings and recommendations are described below.

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211 Competitive Bidding

In our Phase 1 review of the competitive bidding process, we reviewed a varicty of documents used
in the bidding process, including Requests for Proposals, proposal evaluation processes and methods
used to select potential bidders. We also conducted interviews with CDCR staff and attended
demonstrations of the competitive bidding process.

There are separate and distinct processes within competitive bidding. The “manual” bid process is
the process by which bidding and evaluation materials are constructed without using the ProdAgio
Contracts system, and the ProdAgio-based bid process, in which ProdAgio is used to construct and
manage the bidding materials. As of March 31, 2008, there were six institutions for which the
contracting process had become centralized using the ProdAgio Contract system. The remaining
institutions are still usingr the manual process.

These processes are described separately below.

Manual Bid Process

Process Summary:

1. Institutions contact the Plata Contract and Invoice Branch when they identify a need for a
contracted service

2. A PC&IB Contract Analyst (CA) reviews the details of the request (what services are needed,
how much)

3. PC&IB CA evaluates whether the request lends itself to a Master Contract, and whether other
institutions might benefit from a bid for the requested service

*  Ifso, call letters are sent to all institutions inviting them to participate in the bid for
services
e Ifnot, the contracting process proceeds with the institution requesting service
4, PC&IB CA sends Rate Sheet to institution(s) participating in the bid
5. The CA at the institution(s} completes the Rate Sheet
6. Healthcare Manager at the institution approves Rate Sheet

7. Rate Sheet is sent to PC&IB

8. PC&IB CA develops Scope of Work using information from the Rate Sheet

9. PC&IB Contracts Manager reviews Scope of Work ‘

10, Request for service goes to PC&IB Contracts Director for approval

11. Scope of Work and Rate Sheet are sent back to institution(s) for approval

12, PC&IB CA prepares Invitation for Bid (IFB) document

13. PC&IB CA prepares bidders list

14. PC&IB CA sends opportunity letter to prospective bidders on bidders list

15, PC&IB CA posts IFB on the California State Contracts Register (CSCR) website

16. PC&IB CA sends hard copies of the IFB upon request

17, PC&IB CA conducts bidder’s conference/walk through

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PC&IB CA reviews bids as they are received
* Bids ate reviewed for completeness and mathematical accuracy
PC&IB CA enters bid amounts on Bid Tabulation Sheet
PC&IB CA creates Pay Comparison Package and a Bid Matrix
Pay Comparison Package is sent for approval
PC&IB CA verifies bidders’ small business eligibility
PC&IB CA ranks bidders according to rates and small business status
PC&IJB CA adds ranking information to Bid Matrix
Decisions on bid awards are made
PC&IB CA notifies bidders about award decisions
e CAsends Intent to Award letters to contractors, and requests insurance and licensure
documents
* CA sends rejection letters to bidders who will not be awarded contracts
PC&IB CA creates agreement with each contractor
PC&IB CA routes contracts to Accounting for encumbering
¢ For Master Contracts, an encumbering document is included showing the institution
breakdowns for each contract
Institution CA verifies each provider's credentials, including licensure and board certification
When service is needed, institutions simultaneously phone/fax all contractors and give them
24 hours to respond about their willingness/availability to provide the service. Institutions
must award service to the highest ranked contractor who has responded to the request

ProdAgio Bid Process

As described previously, CDCR is currently piloting a software program called ProdAgio Contracts.
ProdAgio is a documentation management system, and CDCR is in the process of gradually
transitioning all 33 institutions to this system. It is projected that a limited number of manual
contracting processes will continue to exist, even after ProdAgio is completely in place.

Process Summary:

1.

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Institution submits a Contract Request Form (886B) or a Contract Renewal Request (CRR) to
the Plata Contract and Invoice Branch when they identify a need for a contracted service
A PC&IB Contract Analyst (CA) confirms the request with the institution-based Contract
Analyst and gathers the details of the request (what services are needed, how much)
PC&IB CA prepares Scope of Work, Rate Sheet, and Invitation for Bid (IFB) package
PC&IB CA submits Scope of Work, Rate Sheet, and IFB to a manager for review
Once approved the PC&IB CA conducts the following tasks:
e Sends the Scope of Work and Rate Sheet to the institution for confirmation
e Advertises the IFB package on the California State Contracts Register (CSCR) website
(must be posted on website for three days before anything can be initiated in the
ProdAgio system)

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¢ Prepares and faxes Contracting Opportunity Letter and Internet Alternative Access
Service (OCS Form 145) to potential bidders on the IFB bidders list
6, PC&IB CA prepares Bid Matrix, Bid Tabulation Worksheet, and Work Folders
PC&IB CA prepares Pay Comparison package
8. As bid packages are received, the PC&IB CA conducts the following tasks:
* Records the name and contact information of the bidder, as well as the date received
on the Bid Tabulation Worksheet and the Bid Matrix
e Enters the rates submitted by bidders on the Bid Tabulation Worksheet
9. PC&IB CA send Bid Tabulation Worksheet to a manager for pay comparison
10. Manager reviews pay comparison and defines the cut-off rate amount
11. PC&IB CA finalized Bid Matrix and ranks bidders according to rates and small business status
12. PC&IB CA notifies bidders about award decisions
e CA sends Intent to Award letters to bidders below bid cut-off, and requests insurance
and licensure documents
* CA sends rejection letters to bidders above the bid cut-off

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5.1.2 Exempt Providers Contracting Process

Contracting with providers who are exempt from the bidding process is generally initiated by
individual institutions who must either locate new providers to meet their service needs or renew
contracts with existing providers. Regulations regarding types of contracts that are exempt from
bidding are contained in the State Contracting Manual Chapter 5, Section 5.80. This language can be
found in Appendix C.

The California State Auditor Report 2006 recommended “...that the California Department of General
Services (General Services) consider removing its long-standing policy exemption that allows
Corrections to award, without advertising or competitive bidding, medical service contracts with
physicians, medical groups, local community hospitals, 911 emergency ambulance service providers,
and an ambulance service provider serving a single geographical area.” However, these services
continue to be exempt from bidding, At this time, NCI recommends that these services remain exempt as long
as appropriate negotiation policies are in place to ensure that rates paid are appropriate and within the range of
market rates paid by public and private payers.

The exempt providers contract process is described below.

Process Summary;

1. Institutions contact the Plata Contract and Invoice Branch when they identify a need fora
contracted service.

2. A PC&IB Contract Analyst (CA) confirms the request with the institution-based Contract
Analyst and gathers the details of the request (what services are needed, why, how much).

3. PC&IB CA recruits potential contractor(s) and negotiates rates.

4, PC&IB CA sends provider a package of materials including a letter of intent, a payee data
record, and a request for supporting documentation (insurance, licensure).

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5. PC&IB CA conducts rate analysis.

6. Provider returns the data record (STD 204) to PC&IB.

7. PC&IB CA forwards STD 204 to ProdAgio help desk.

8. ProdAgio help desk enters data from STD 204 into ProdAgio.

9. Provider information (including rates) are reviewed by a PC&IB Contract Manager for
approval.

10. Once approved, the PC&IB CA sends a contract to the provider to be signed.

11. PC&IB CA encumbers funds.

12. Once received, PC&IB CA submits provider's insurance information to ORIM for approval.

13. Once approved, contract is submitted to PC&IB Contract Manager for approval.

14. Once approved by manager, contract is submitted to legal department for final approval.

15. Once approved, final contract information is entered in ProdAgio (if applicable) and the
contracts Access database.

New contracts and contract renewals are nearly identical, except for Steps 3, 4 and 5, which are not
performed in a renewal.

5.13 Staffing for Contract Negotiations and Biddin

The State of California has a limited set of general job levels that are used to staff a wide variety of
agencies. Each job level has a set of education and experience requirements; however, they do not
require any specific industry knowledge or expertise. Positions at CDCR can be filled by any
candidate who meets the education and experience requirements of the designated job category and
passes a statewide general competency exam. There is no requirement that CDCR employees (of any
level} who are hired to perform healthcare contracting have experience specific to healthcare,
contracting, provider relations, negotiation, or any other job-specific function. In addition, the
statewide hiring process does little to ensure that CDCR positions are filled by individuals with
relevant education and work histories. The PC&IB is staffed primarily with Staff Services Analyst
(SSA) employees, and a smaller number of Associate Governmental Program Analyst (AGPA)
employees. As of March 2008, teams of between three and seven SSAs and/or AGPAs reported to a
Staff Services Manager I (SSMI), who in turn, reported to a Staff Services Manager II (SSMII).
Although the specific job functions and duties vary considerably within the department, depending
on whether individuals are assigned to a contracting role or an invoice processing role, the job
qualifications are the same.

As part of our Phase 1 analysis, we reviewed the qualifications and requirements for the major job
classifications of the PC&IB, as well as similar positions at a variety of other healthcare organizations,
nationwide. We gathered information from other correctional systems, a state employee health
system, and several commercial health plans.

Among the organizations for which we were able to gather data, all except CDCR require contracting
employees to have relevant healthcare experience and/or education. Although CDCR requires its
contracting employees to hold Bachelor’s degrees (or the equivalent), some organizations require or

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strongly prefer candidates with Master’s degrees in fields such as health or business administration,
health economics, or another related field. In addition, most organizations specifically require
knowledge of managed care contracting, provider relations, negotiation, and credentialing. This is
not surprising, given that healthcare provider contracting requires much more specific knowledge
and expertise than contracting for most other goods and services. NCI's findings regarding
qualifications of CDCR contracting staff compared to other healthcare organizations are shown in
Table 11.

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Table 11
Contract Staffing Descriptions

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5.2 Preliminary Findings Regarding Contracting Functions

Our initial review of processes, systems and staffing, has led us to identify the following
findings:

Finding #1; Although ProdAgio Contracts removes much of the paper involved in the bid
and contracting processes, its full capabilities are not being utilized. These capabilities
would help to address many of the shortcomings associated with the provider contracting
unit of CDCR. NCI understands that ProdAgio has advanced searching and tracking
capabilities that are not currently installed on CDCR’s system. As a result, Contract Analysts
are unable to effectively search for contract information and ProdAgio is unable to serve as an
effective central data repository for provider contract information. It also does not interface
with any of the department's Access databases (such as CMD) that contain payment and other
information. In addition, it appears that the system does not have the capability to serve as a
provider network management, quality management or cost measurement tool. These
functions would need to be performed separately and integrated with ProdAgio in order to
optimize its use as a contract management system.

Finding #2; There is no standard procedure for locating or selecting providers to deliver a
specific service. Contract Analysts at institutions use the yellow pages, ask Contract Analysts
at other institutions who they contract with, ask clinical staff who they know, or call PC&IB to
ask for names. There is no complete and up-to-date database of existing providers to which
Contract Analysts can refer, nor any link to disciplinary actions or tracking of adverse events or
poor performance for either contracted providers or registries.

Finding #3: Involvement of Institution-based Contract Analysts in contract negotiations
varies by institution. Although some institution-based Contract Analysts conduct contract
negotiations for some services, most primarily assure that there are providers under contract to
provide the services at the institution. Contracts are generally negotiated and processed by
PC&IB Contract Analysts, whether the institution is a centralized ProdAgio-based institution or
decentralized non-ProdAgio institution. Anecdotal evidence suggests that PC&IB staff have
excluded institution-based CA’s from the contracting process in some cases. This appears to
have delayed contract negotiation and processing on several occasions.

Finding #4: The bid process is meant to be initiated when an institution identifies a need for
service or contracts expire. However, there are no formal guidelines for initiating a bid
process. Institutions are expected to maintain a current list of contracted providers but these
lists exist in isolation and there is no way to cross-reference lists either across institutions or
with PC&IB, Each institution has developed its own system to keep track of existing contracts
that is separate and independent of PC&IB contract management.

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Finding #5: Bid awards are made solely on the basis of rates without considering provider
quality. Contracted providers are ranked according to preference points by the PC&IB Contract
Analyst using a ranking tool. Rankings are entered into the Bid Matrix. Preference points are
awarded based on bid rates and the size of the provider's business (small businesses are given
preference). At the time service is needed, institutions must first contact the highest ranked
contractor who has responded to the request for service and then work down the rankings list.
This is particularly problematic for registry contracts because individuals who work for
registries are not tracked across institutions or headquarters. For example, medical assistants
who perform poorly may change registries and ultimately be rehired by a different institution.
We have not been able to identify another healthcare purchaser that excludes provider quality
from the selection of providers.

Finding #6: Discussions with prison institution staff suggest that the highest ranked vendors
or providers often cannot or will not provide needed services resulting in lower rank (and
higher cost) vendors or providers being used. As discussed previously, the ranking system
creates incentives for providers to “game” the system by bidding higher rates, knowing that the
low price vendors will likely be unable or unwilling to provide services. Conversely, providers
also have incentives to bid low rates and not provide services, simply to have a state contract.
In fact, discussions with institutions suggest that unqualified vendors successfully bid for
contracts and then do not provide the services. For example, during the recent site visits, we
were told that a non-healthcare related company bid and won the registry contract for the
purpose of obtaining financial loans from banks. The company was never capable of or had the
intention to provide the registry services for which it was bidding,

Finding #7: PC&IB Contract Analysts do not have adequate healthcare knowledge to
negotiate certain contracts, Lack of adequate knowledge has resulted in higher rates being
paid than necessary. For example, a master contract for imaging services was negotiated that
did not include contrast media in the price of the contract. The PC&IB Contract Analyst did not
have enough knowledge to know that contrast media needed to be included in the contract. As
a result, the lowest cost vendor was selected, but the institutions then needed to purchase
contrast media in addition paying the vendor cost for imaging services. Although the
procedure cost was lower, the overall cost (including contrast media) was higher. In addition,
there was substantial waste associated with the contrast media, which must be purchased in
bulk.

Finding #8: The provider selection process does not include integrated license verification
and credentialing processes. These are separate processes. This is discussed in more detail in
Chapter 6, Credentialing.

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Finding #9: PHYSCAD appears to be a “master” list of providers and provider numbers.
However, the database appears to be incomplete and needs to be “cleaned” to remove
duplicates. PHYSCAD does not contain licensing information. Provider numbers are manually
generated and assigned sequentially but do not contain any identifying information. As a
result, there is the potential for providers to have multiple provider numbers. The PHYSCAD
database has limited value at this time because it contains only a limited group of providers,
and because its data cannot be directly linked to the systems used by contracting and invoicing
staff. CDCR staff could not clearly articulate what purpose PHYSCAD serves at this time.

Finding #10; CDCR’s current reimbursement policies and payment approaches, or lack
thereof, have a negative impact on the contract negotiation process, resulting in contract
ambiguities and inaccuracies, and ultimately leading to incorrect payments to providers,
Moreover, CDCR still has a large number of contracts that are based on a percentage of billed
charges. This creates incentives for providers to continuously increase their charges to obtain
higher payments, Commercial and public health plan contracts often contain language that
limits providers’ annual increases in their Charge Description Masters (CDMs) in order to
reduce the risk of large charge increases from year to year. The following processes and policies
are currently in place:

Hospitals — Chancellor Consulting has been hired to renegotiate high volume hospital
contracts. See previous discussion in Chapter 3.

Physicians (Non-Hourly) — In our previous work, we recommended that CDCR move
away from RVP-based reimbursement for physicians and instead pay based at 130
percent of the Medicare Fee Schedule. However, NCI does not believe that contracting
staff have the healthcare reimbursement knowledge that is necessary to negotiate
physician contracts in this way.

Physicians (Hourly) —- Hourly rates are appropriate for certain providers who enter
prison grounds and provide services to inmates for a specified length of time. However,
court documents and other audits point to overpayments, either through inflated hours
or inflated rates. There is no automated audit function that allows for reconciliation of
the hours and rates with payments. Health Care Managers who review invoices at
institutions may catch some of these errors, but invoice processors using ProdAgio do
not have access to prison log sheets to reconcile discrepancies which limits leverage in
contract negotiations.

Other Provider Types — Providers other than hospitals and physicians have an
advantage in negotiations because there are few rate setting or reimbursement policies

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in effect. As noted previously, services that are bid offer incentives for providers to bid
high rates.

5.3 Recommendations Regarding Contracting Functions

Immediate Action Steps:

1. Clean and update PHYSCAD so that it serves a useful purpose. See previous
recommendation Chapter 3, Network Development and Management.

2. See Chapter 4, Rate Analysis and Rate Setting recommendations regarding establishment of
payment policies. Once established, these should be added to contract language.

3. Review all current non-Registry Master Contracts in detail and assess whether they are
needed and whether services are being performed by qualified vendors at an
appropriate cost.

4, Assess qualifications of existing staff assigned to bid contracting and provide training on
the required components of selected contracts such as imaging, laboratory and
pharmacy.

5. Review all Registry contracts and link individuals to a master list of providers. See
network management recommendation regarding updating and cleaning of PHYSCAD.

6. Continue using ProdAgio Contracts for the six institutions that are already centralized
but also provide access to ProdAgio Contracts for Contract Analysts at decentralized
institutions as well, Access should be provided concurrent with the master provider
network database (PHYSCAD) cleanup/update.

7. Assess BIS capabilities in detail to determine whether there are functionalities that
should be integrated with ProdAgio as well as network management and claims
processing systems.

Long Term Action Steps:

1. The network management function needs to be integrated with the competitive bidding
function. A master database of providers, including registries, must interface with
ProdAgio and/or BIS so that unqualified providers, vendors and registries can
automatically be excluded from consideration. In addition, this effort must also be
integrated with utilization management and quality monitoring so that retrospective

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review of all providers and services can be conducted regularly. Finally, network
management should also interface with credentialing so that completeness and accuracy
of credentialing and recredentialing can be monitored.

2, Acentralized contracts database should inform the bid management process so that a
Contract Analyst can access an institution’s contracts and can also view all institutions’
contracts.

3, The management of registries needs to be conducted across institutions and with PC&IB.
All institutions should be aware of their own as well as other institutions’ registries,
including whether or not specific providers are qualified for their positions, have
changed registries and/or have a history of disciplinary actions or poor performance.

4, Integrate the contract negotiation and bidding function with network management and
claims processing functions. Determine adequate data capture requirements to link to
claims processing system and integration requirements for ProdAgio Contracts.
ProdAgio should be used to capitalize on its strengths. Its primary strength is document
management but it is not meant to be a claims processing system or provider network
management tool, and we do not recommend that it be used for either of these
functions. .

5, Consider setting up an SQL or use the existing Oracle database in the planned data
center in Torrance to house the provider listing while the MS Access-based PHYSCAD
continues to be the front-end application available for appropriate staff members to
access provider demographic and contractual information. Such an approach will
ensure that when a provider is renewed or termed, the information is available to all
institutions. IT personnel should be consulted on this issue due to limitations in MS
Access. An important consideration is that the performance of the application (response
time per click or per search) will largely dependent upon how the database is set up and
the connection between end-users and the server location. Many IT issues must be
understood and addressed in order for the implementation of this to be successful.

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6. Credentialing

6.1 Overview and Assessment of Credentialing

Credentialing is the process by which health care providers are evaluated and approved for
participation in a health plan or employment by a provider group. The goal of the credentialing
process is to ensure that qualified and trained practitioners and providers are delivering health
care services.

Our assessment of CDCR’s credentialing and recredentialing activities considered the following
issues;

¢ Organizational structure and staffing;

e Provider credentialing written guidelines; —

¢ Initial credentialing and recredentialing verification processes;

e Credentialing application and attestation procedure;

e Review of initial sanction information and recredentialing sanction information;

* Ongoing monitoring of sanctions, complaints and quality of care or service issues;
e Provider appeal rights;

e Credentialing and assessment of organizational/facility providers;

¢ Delegation of credentialing (if applicabie)

Our review and assessment of the credentialing and recredentialing functions included an
interview with the Manager of CDCR’s Credentialing & Privileging Unit (CPU). Our discussion
included routine operations, status of supporting documents, committee structure and
functions, related programs, evaluations, and monitoring and evaluation reviews. After the
interview, we requested the documents listed in Appendix D; documents that were received
and reviewed are also noted in the Appendix. Following the review of documents, NCI
submitted additional questions, which were responded to in writing by CDCR. Our
preliminary findings are outlined below.

6.2 Preliminary Findings Regarding Credentialing
The centralized CPU has made substantial progress in standardizing and improving the
credentialing process. The Manager of the CPU articulated a clear, well thought-out plan to

complete the centralization of the credentialing process and adopt information technology tools
to support the process. The current process is depicted in Exhibit 2, on the next page.

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Finding #1; There are incomplete policies or procedures to support the credentialing
program in its current or future state, but the CPU is in the process of developing these
policies and desk level procedures. These policies, when developed, will include requirements
from the Joint Commission for the Accreditation of Healthcare Organizations ((CAHO) and the
National Committee for Quality Assurance (NCQA). These policies should address:

e The types of practitioners to credential and recredential;

e Requirements for the credentialing application and attestation, including mandatory
questions and attestations;

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* Verification sources used, including primary source verification of licensure and board
certification and secondary source verification of DEA status and liability coverage;

¢ Criteria for credentialing and recredentialing;

* The process for making credentialing and recredentialing decisions;

* The process for managing credentialing files that meet the organization’s established
criteria;

¢ The process to delegate credentialing or credentialing, if applicable (i.e.: use of a CVO);

e The process used to ensure that credentialing and recredentialing are conducted in a
nondiscriminatory manner, including conflict of interest disclosures;

¢ The process for notifying a practitioner about any information obtained during the
credentialing process that varies substantially from the information provided to by the
practitioner;

e The process to ensue that practitioners are notified of the credentialing and
recredentialing decision within 60 calendar days of the committee’s decision;

e The process used to ensure the confidentiality of all information in the credentialing
process;

* The process for ensuring that listings in practitioner directories and other materials, as
applicable to this organization, are consistent with credentialing data, including
education, training, certification and specialty;

® The medical director or other designated physician's responsibilities and role in the
credentialing program;

¢ Written guidelines to describe the functions, roles, and responsibilities of the
Credentialing Committee

Finding #2; Current CDCR guidelines require recredentialing every two years. There are
approximately 26 providers recredentialed each quarter and it is estimated that 40 to 50 percent
of providers are overdue for recredentialing.

Finding #3: Credentialing functions are not monitored through a quality or performance
management process, which would typically measure, monitor, and evaluate such items as
application turn-around-times, application completeness, quality of care issues, facility site
audits, and access and availability reviews.
* There is no process which allows for continuous monitoring of potential or actual
quality of care or service issues and complaints.
e There is no process which allows for continuous monitoring of sanctions and licensing
issues.
e There are no quality control reviews to ensure that the credentialing files are complete
and up-to-date.
e There is no monitoring to assess availability or accessibility of practitioners, which
should be completed prior to a recredentialing determination.

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Finding #4: Staff orientation, education and training in the CPU are effective and well
organized. The Manager is nationally certified as a Certified Provider Credentialing Specialist
by the National Association of Medical Staff Services (NAMSS) as of November 2007. The
Manager and two staff attended the California Association of Medical Staff Services Annual
Education Conference in 2007. Staff receive on-line training courses on the credentialing and —
privileging process via NAMSS, and in-service training on CPU policies and procedures with
appropriate documentation of attendance. Finally, the Manager provides weekly staff updates
and education on the process, including question and answer sessions.

6.3 Recommendations Regarding Credentialing

Immediate Action Steps:

1, Onsite review of certain materials is needed. First, credentialing files should be assessed
for completeness and accuracy. Second, credentialing committee minutes should be
reviewed to evaluate the degree of peer review that is conducted prior to a negative
determination for denial of a new applicant or termination of a current provider.

Finally, an assessment of denials based on quality issues should be completed in order
to evaluate appropriateness of reporting to the appropriate licensing board(s} and/or the
National Practitioner Data Bank.

2. Assist Manager of CPU in developing best practice, centralized credentialing program
requirements, including governance, organizational structure, policies, staffing
requirements and other resource needs. This future state program should be engineered
to take full advantage of the implementation of the CredentialSmart software application.

3, Consider modifying recredentialing timeframe from every 24 months to every 36
months, which is consistent with the standard used by most health plans.

Long Term Action Step:

1. Centralize standardized CDCR credentialing and recredentialing functions and
responsibility in the CPU.

Based on our research, we are confident that the CDCR credentialing staff is anxious to develop
and implement a best practice credentialing program. The Manager’s dedication to this effort is
clear and proven by recent efforts. CDCR is working to follow industry standards and to
continuously monitor, evaluate and improve the credentialing function, Many of the staff have
obtained relevant continuing education. CDCR should be able to complete the building of its

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credentialing program assuming appropriate clinical oversight and resources are devoted to the
effort.

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7. Quality and Utilization Monitoring
74 Utilization Monitoring
7.1.1 Overview and Analysis of Utilization Monitoring

The California State Controller’s Review Report on CDCR’s Healthcare Delivery System
released in August of 2006 noted that the existing “utilization management process is ineffective
in ensuring that services are necessary and consistent with prescribed guidelines or that
contractors’ charges are appropriate.” The reasons cited for these deficiencies included
unrealistic workloads, inadequate training, lack of definition of roles and responsibilities, as
well as apparent deviations from the defined process

Our assessment of utilization monitoring activities considered the following issues:

e Organization structure and staffing;

¢ Utilization review policies, procedures and processes, including timeliness of decisions
and staff qualifications;

¢ Infrastructure to support these activities, including availability of criteria used by first-
level review nurses, training, and data management capabilities. Frequently, payer
organizations have some difficulty in ensuring that utilization review decisions are
accurately reflected in the final payments made to providers;

° Availability of data to support retrospective monitoring of quality and utilization trends;
and

¢ Notification of adverse determinations and appeals procedures.

In order to complete the initial review and assessment of utilization monitoring, we conducted
interviews with the CPRI management team responsible for UM processes. Our discussions
included routine operations, status of supporting documents, committee structure and
functions, related programs, evaluations, and monitoring and evaluation reviews. After the
interviews, we requested documents as listed in Appendix E. Documents received and
reviewed are identified in the Appendix. Following a review of these documents, we submitted
additional questions, to which CPRI responded. We analyzed findings from the interviews,
documents and follow-up clarification relating to UM to assess the current status of the
program. Our preliminary findings are outlined below.

7.1.2 Findings Regarding Utilization Monitoring

Overall, our research, discussions and review of documents revealed that there is no trending of
data, no monitoring of care or services delivered, committees do not meet objectives as outlined

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in the 2005 UM program, and there is no monitoring of the effectiveness or efficacy of the UM
program and processes. The UM program description was documented but is not
implemented. In addition, there is no UM work plan that defines functions and reporting
requirements as stated in the UM program. Specific findings are described below.

Finding #1; The organizational structure does not offer the clinical leadership needed to
support an effective UM program. Most importantly, there is no designated physician
executive to direct the UM program. We were unable to obtain an organizational chart
describing the structure, people and reporting relationships used to support the UM program.
There is no documentation requiring that appropriately licensed professionals supervise all
medical necessity decisions. In addition, the Medical Authorization Review Committee
(MARC), which meets to review requests for services that do not meet defined criteria and
specified requests for services such as transplants, does not meet weekly as described in the UM
program, but reportedly meets “as needed” to address issues within mandated timeframes.

Finding #2: UM Nurses at institutions enter data into a stand-alone UM Access database that
is not accessible from other institutions or PC&IB, nor integrated with the invoice processing
database (CMD) or ProdAgio. These databases serve a useful function in assisting UM nurses
in managing inmate services on a day-to-day basis. However, the databases are not appended
to a central UM database, nor are the data retrospectively reviewed. In addition, UM Nurses
assign diagnosis codes (ICD-9) codes to the services needed, even though evidence suggests
that they do not have coding training or experience. This practice leads to inconsistencies in
recording types of services that are requested and authorized. Although services are paid based
on the CPT, ICD or DRG codes that are contained on the invoices or claim forms submitted by
providers, there is no mechanism for reconciling these services with those in the UM database
to determine whether the service was delivered to the right patient, at the right time and for the
right price.

Finding #3: There is no mechanism to evaluate the effectiveness of the UM program, The
UM program should be formally evaluated using a process which would measure and monitor
such issues as turn-around-times, application of criteria, reasons for denials, appeals, reversed
decisions, appropriateness of level of care and potential over- and under-utilization of services.

¢ Amemo from March 2005 described data that led to new review focus areas in order to
monitor potential or actual over- and under-utilization of services, based on statistics from
the UM database and HCCUP system showing the top ten diagnoses and services
requested. There has been no update to this memo, nor is there evidence that program
monitoring is ongoing and continuous or has resulted in corrective actions or interventions
to improve access or availability of care.

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e There is no mechanism to review vital UM statistics such as the number of denial
determinations, number of appeals and rate of reversed denial determinations.
¢ The UM program description includes reports that are to be in place and used for
monitoring purposes. Evidence of the reports’ usefulness in improving access to care is not
validated. Reports include:
« Daily census report
» Level of care assessment tool
* Quality of care issue report, which does not exist
* Cost avoidance/savings justification
« Admission and Outpatient denial log - separate log does not exist, information is
by patient name/CDCR number within the UM database, A special query could
be created, but UM does not have any IT support.

Finding #4; UM policies, procedures and processes do not meet or address a number of
factors considered standard practice in payer organizations. These include:

* The UM program description is not current. The first version of the UM program
description was written in 1996, updated in 1999, and then revised in 2005. There are no
annual reviews (and revisions, if needed) of the UM program description.

© Standardization of guidelines, criteria and decisions

« The InterQual criteria being used for evaluation of inpatient services are
considered best practice. However, these criteria should be reviewed and
approved by a CDCR committee of practitioners to ensure local applicability.

* Other (outpatient) requests for services are not evaluated based on standard,
CDCR-approved guidelines which are consistently applied across the system.

« Inter-rater reliability assessments of consistency in decision-making are not
applied to either nursing staff application of criteria and guidelines nor physician
staff making clinical approval or denial determinations.

« Practice patterns, variance reports and management statistical data analysis are
not routinely assessed or presented, but could be available with analytical and IT
support to access these data from the UM database.

* There is no formalized process to document conflict of interest checks or confidentiality of
personal health information.

* There are no formal case management or disease management programs. CDCR manages
specific diseases such as human immunodeficiency virus (HIV) and hepatitis C virus (HCV).
UM targeted. HIV and HCV as a chronic disease conditions for support. UM began
reviewing and tracking biopsy requests and HCV medication management.

e There is no written process documenting how patients are notified of denial determinations,
requirements of notification or appeal rights.

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Finding #5: The infrastructure and resources to support a fully functioning UM program do
not exist. We were unable to obtain an organization chart or list of staff/FTEs in order to
accurately assess existing UM staff versus required staff. UM staff education and training
consists of a one week orientation with ongoing oversight by UM Supervisors. Each UM
Guideline update is presented in statewide UM training. The UM program and staff does not
have any IT support to create reports, sort and scrub information or to make data driven
decisions.

7.1.3 Recommendations Regarding Utilization Management

Immediate Action Steps:

1, Develop current state workflow(s) and organizational chart(s) including:

* Responsibility for specific activities, including staff members with the authority to
deny coverage

e The extent of involvement of a designated physician and specialty health care
practitioner

e How the organization evaluates, approves, and revised the UM program, including
frequency of evaluations and who is.responsible for them

* The UM program’s role in the quality monitoring (QM) program, including how the
organization collects UM information and uses it for QM activities

* Procedures by which a patient or practitioner can appeal denial determinations

2. Mine data from the Microsoft Access UM databases to evaluate current UM program
performance and identify priority areas for review or improvement. Reconcile coding
inconsistencies across institutions and with CMD.

3. Develop plan for recurring merging of UM databases to allow for ongoing evaluation of
UM program performance.

4, Employ a UM OT to perform data entry into UM database instead of UM RNs
performing such tasks. During our site visits, we noted that the majority of the UM
RN’s times are spent on entering census and scheduled appointment data into the UM
database. This is an expensive resource to perform data entry tasks. We recommend
that an administrative person to assume the data entry responsibilities. UM RNs’
primary responsibilities should be performing medical necessity authorization and
review, concurrent review, document progress notes and site visits.

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Long Term Action Steps:

1. Develop UM program requirements, including program design and components,
staffing requirements and other resource needs (e.g., software, hardware, criteria, etc.).
These program requirements should be developed to support objective 3.5 in the
Receiver’s Strategic Plan, which is to establish a health care appeals process,
correspondence control and habeas corpus petitions initiative. Additionally, program
design should address action step 2.3.1 which is to establish standard utilization
management and care management processes and policies applicable to referrals to
specialty care and hospitals,

2. Consider outsourcing the UM function. Develop business requirements for outsourcing
to evaluate.cost-effectiveness of an internal UM program versus an outsourced function..

7.2 Quality Monitoring
7.2.1 Overview and Assessment of Quality Monitoring

The Quality Monitoring (QM) program should clearly define the organization's quality
management and improvement structures and processes to improve the quality and safety of
clinical care and services. Specifically, the QM program description should:

e Document the program structure, —

e Include behavioral health care,

e Address patient safety,

¢ Define accountability to the governing body,

e Have a designated physician with substantial involvement,
e Be supported by a functioning committee,

* Compile an annual work plan, and

* Be evaluated annually,

The annual evaluation of the QM program should include a description of completed and
ongoing quality monitoring and management activities that address quality and safety of
clinical care and quality of service, as well as trending measures to assess change in
performance over time and analysis of the results of QM initiatives, and an overall evaluation of
the effectiveness of the QM program.

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Our assessment of CDCR’s quality monitoring activities considered:

* Organization structure and staffing;

* OM policies, procedures and processes;

¢ Infrastructure to support these activities; and

¢ Availability of data to support quality measurement and trends.

To complete the initial review and assessment of quality monitoring, we conducted telephone
interviews with the CPRI management team responsible for QM. After the interviews, we
requested documents as listed in Appendix E. Documents received and reviewed are listed in
the Appendix as well. Following a review of these documents, we submitted additional
questions, which were responded to in writing by CPRI. We analyzed findings from the
interviews, documents and follow-up clarification relating to QM to assess the current status of
this program. Our preliminary findings are outlined below.

7.2.2 Preliminary Findings Regarding Quality Monitoring

CDCR’s CMO and CNO reported that no formal QM program is in place. At one time, the
Quality Management Assistance Program (QMAP) was established to monitor all quality
initiatives with Quality Management Assistance Teams (QMAT), but the program and
supporting committees were disbanded. Although various QM functions are addressed in the
2005 UM program description, no efforts at performance improvement, peer review, monitoring
or evaluation, assessment or oversight are taking place or are documented.

All of the Receiver’s strategic goals published in the Draft Strategic Plan on March 11, 2008 are
direct aimed at improving the quality of care received by patient-inmates. The QM program
should focus on supporting those strategic goals and objectives. Although objective 4.2
specifically describes the establishment of a clinical quality measurement and evaluation
program, many of the other objectives should be evaluated under the auspices of aQM
program. For example, objective 1.3 is focused on improving CDCR’s emergency response
capabilities. The QM program should include one or more key performance indicators aimed at
measuring emergency response outcomes. Objective 2.1 is focused on improving chronic care
for patient-inmates with asthma. The QM program should focus on measuring “asthma
control” indicators such as emergency room visits and inpatient admissions for acute asthma
and adherence to the asthma medication guideline.

Finding #1: There is no formalized quality monitoring, management or improvement

program. There is no QM work plan that outlines the measurement, management or
improvement of quality of care within CDCR, There is no QM committee to set policy, evaluate

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results of QM monitoring activities, plan, design or implement quality of care or service
reviews, or institute corrective actions,

Finding #2: There is no evidence that mechanisms exist to evaluate potential or actual
quality of care issues. Areas to address include:

e Adverse outcomes

e Timeliness of services

e Access to services

* Continuity of care

e Complaints and grievances

¢ Pharmacy reviews, including medication compliance, prescribing patterns, adverse drug
: reactions, off-label use

¢ Referrals and transfers, including Outpatient Housing (OPHUs) and Correctional

Treatment Centers (CTCs)

Finding #3: There are no documented provider quality requirements, including that
providers must cooperate with QM activities, CDCR’s rights to access medical records or that
practitioners must maintain the confidentiality of patient information and records. There is
no monitoring in place to assess availability or performance of providers. CPR’s strategic plan
identifies objective 3.3 to establish a medical peer review and discipline process to ensure
quality of care. Again, this activity should be conducted under the broader auspices of the QM
program.

CDCR/CPRI staff have demonstrated a strong desire to operate an effective quality monitoring
program. The CMO’s and CNO’s dedication to this effort is clear, as are their intentions to
follow industry standards and to continuously monitor, evaluate and improve the care and
services provided to patients at all levels.

7.2.3 Recommendations Regarding Quality Monitoring

Immediate Action Steps:

1. Develop a QM program description, including program governance, structure and
design. The QM program should be designed to address both physical and behavioral
health care issues, and include patient safety, peer review, patient and provider
complaints and grievances and performance measurement and improvement. The QM
program description should support the objectives in the Receiver’s Strategic Plan.

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2, The QM program should be linked to IMSATS to track and monitor access and
timeliness of care using data that are currently available. If IMSATS databases are
consolidated (see Chapter 8, Claims Processing and Data Capture), preventive care and
continuity of care can also be monitored and tracked using IMSATS.

Long Term Action Steps:

1. Develop model QM program requirements, including program design and components,
staffing requirements and other resource needs (e.g., software, hardware, criteria, etc.).
The QM program design should support the objectives in the Receiver’s Strategic Plan.

2. Consider outsourcing the QM function. Develop business requirements for outsourcing
to evaluate cost-effectiveness of an internal QM program versus an outsourced function.

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8. Healthcare Invoice/Claims Processing and Data Capture

8.1 Overview and Assessment of Claims Processing and Data Capture .

CDCR does not currently administer a healthcare claims processing system as would typically
be found in a commercial or public health plan. Instead, the current environment relies on a
process in which providers submit invoices for payment and then the invoices are processed
through several decentralized Microsoft Access databases called the Contract Medical Database
(CMD). Although the contract management function is currently being centralized through the
implementation of the ProdAgio Contracts application, as described previously, this centralized
system is still in a pilot phase. In addition, ProdAgio Contracts does not have the capability to
appropriately adjudicate and pay healthcare claims. Thus, CDCR’s ability to pay healthcare
claims is, and will continue to be, constrained due to shortcomings in current data processing
and information technology resources. For example, there is currently no grouping software
incorporated into the systems to allow prospective payments, such as Diagnosis Related Groups
(DRGs) and some payment rates are assigned manually. In our previous work, we found that
contract analysts rely heavily on hardcopy books and manuals, such as the Relative Values for
Physicians (RVP) manual, which has been historically used to price physician services.

In conjunction with the assessment of the actual claims processing process, we also assessed
CDCR’s current capabilities and needs related to capture of utilization and payment data for
ongoing analysis and reporting, CDCR’s ability to report on health care services provided to
inmates is critical to managing medical costs and outcomes on a go-forward basis. While claims
data are imperfect, most payers rely on these data to monitor utilization, costs and outcomes, as
well as to identify variations and opportunities for improvement. Standard health care
claims/datasets provide information on diagnoses, procedures and services provided, and
should form the basis of CDCR’s analysis and reporting capabilities. Many payers have a

“medical economics” unit that evaluates these data retrospectively to monitor patterns and
trends related to costs and quality.

The primary objective of our Phase 1 assessment was to develop a clear understanding of the
current processes and technologies that CDCR uses to process and pay claims/invoices received
from providers and the related claims/utilization data capture and retention processes. In order
to complete this preliminary assessment of the current state, we completed the following tasks.
Our findings resulting from these tasks are summarized subsequently.

1, Review current processes and policies/procedures related to claims payment and

conduct interviews of key staff regarding invoice/data processing and retention
processes, information systems and staff.

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2. Develop workflow diagrams of operations related to the receipt, processing and
payment of claims and review current processes and procedures such as payment
policies and provider contracts that are dependent on claims processing capabilities.

3. Develop preliminary findings regarding invoice processing, data capture, analysis and
reporting capabilities, including structure, process and technology issues.

8.2 Preliminary Findings Regarding Claims Processing and Data Capture

On the surface, as depicted in the high level process flow shown in Exhibit 3, the business
process flow seems straight forward and simple. However, upon closer examination, it is clear
that these processes are actually quite complicated and labor intensive due to the lack of
integration of information technology systems and applications. High level process-by-process
descriptions are provided below. Please refer to Appendix F for detailed business process flows
along with descriptions of each sub-process beginning with inmates requesting care and ending
with providers being paid.

Finding #1: The entire health services delivery and payment process, from an inmate seeking
medical care to the provider being paid, is very labor intensive, fragmented and lengthy.

Our review indicated that the medical scheduling and care processes are largely the same across
all institutions. The differentiators are usually the rate of adoption of technology. Some
institutions use computer applications to track and manage medical scheduling and
documentation while others still use hard copy forms and notes. In addition, because the
ProdAgio Contracts application has not been implemented for all institutions, there are two
claims/invoice processing processes currently in place. They are:

1) ProdAgio Institutions: There are currently six (6) institutions whose claims/invoice
processing functions are centralized in the headquarters of the PC&IB.

2) Non-ProdAgio Institutions; All other institutions continue to use on-site processing for all of
their medical claims/invoices.

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Exhibit 3 3

Inmate _
Returns

Concurrent Review &
Discharge Planning

Non-ProdAgio .PordAgic

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Finding #2; Medical scheduling, invoice processing and data capture processes are very
complicated and convoluted because the processes involve many entities, . .
systems/applications and various staff with different skill sets. The “touch points,” meaning
the individuals, entities and systems involved in the inmate’s care in some way, also vary
depending on whether ProdAgio is used, and whether the contracts are newly negotiated by
Chancellor Consulting (as described previously). In order to understand the level of complexity
in this process, we have provided the following overview of all possible key touch points
involved in the entire business process. These are presented below.

Entity Touch Points:
1. Hospitals, physicians, contractors, registry staff, suppliers, ambulance, pharmacies,
independent lab, and other freestanding facilities.

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2. Thirty-three (33) institutions or facilities located throughout the entire State of
California. .

3. PC&IB Contract & Invoice Branch (PC&IB) — The “headquarters” for the 6 ProdAgio
pilot institutions.

4, Six (6) Regional Accounting Offices (RAQOs).

5, State Comptroller's Office (SCO).

6. Mail rooms in each of the entities above.

System/Application Touch Points:

1. Hard copy papers such as invoices (CMS 1500, UB-04 forms), routing face sheet, etc.

2. Scanner with Adobe (pdf file} and OCR (Optical Character Recognition) scanning
capabilities.

3. Captiva, which is an OCR application bundled with ProdAgio, is used for indexing
of scanned invoices.

4. ProdAgio Contracts™ is the centralized system adopted by PC&IB headquarters that
is intended to be used for contract management and invoice approval work flow
purposes. This system is still in a pilot phase with a limited rollout at the
headquarters location and six prison institutions as of Match 2008. ProdAgio
Contracts™ does not include claims payment capabilities.

5, Contract Medical Database (CMD) is an MS Access database/application developed
specifically for each of the 33 institutions, This application is the primary system for
all invoice processing and tracking.

6. Offender Based Information System (OBIS) is a State controlled system which tracks
the demographic characteristics and movement of inmates. ,

7. Inmate Medical Scheduling and Tracking System (IMSATS) is a desktop, MS Access-
based scheduling system which tracks both in-house and external medical visits.

8. Distributed Data Processing System (DDPS) tracks inmate demographics and
movement in each institution and is the primary inmate information system used by
the institution’s medical professionals. This database is updated daily and does not
appear to have a reconciliation process in place with OBIS.

9, RVP Pricer, which is an MS Access database/application developed to price claims
before the final amounts are entered onto CMD.

10. Census and Discharge Data Information System (CADDIS) is an MS Access
database/application developed to track the daily utilization of community and in-
house inpatient services only.

11. Utilization Management (UM) database: Tracks both inpatient and outpatient
services from Request for Service (RFS) forms from Urgent Care clinics or Specialty
Clinics, emergency referrals, returns and OPHU (Outpatient Housing Unit)
admission forms from staff physicians, daily census, or verbal communication from
the Watch Office.

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12, CALSTARS is the General Accounting system used by the SCO to process checks
and the General Ledger (G/L).

13. Various Pricer applications (web or MS Access) published by CMS.

14. Stand alone MS Excel worksheets used by individual staff on their desktops. These
worksheets are primarily used by each staff member to track their work
input/output processes and/or reconcile invoice amounts. It is also used to create the
face sheet accompanying invoices being transferred between RAOs and institutions.

15. Watch Tracking System: Used by wardens to track the movement of inmates within
the same facility.

Staff Touch Points:
1. Provider or Contractor
a. Coders

b. Invoice preparer

2. Non-ProdAgio Institutions:

a, Warden for Healthcare Services: Completes the scheduling log,
transportation log, and daily movement sheet for each inmate requiring and
approved for external medical care visits.

b. Correctional Healthcare Services Administrator (CHSA): Approves final
payment on adjudicated invoices and determines contracting needs and
budget amount.

c. Health Care Cost and Utilization Program (HCCUP) Analyst: Prices and
processes invoices using hard copy contracts, CMD, and various pricer
applications.

d. Institution Contract Analyst: Obtains contracting needs from CHSA or CMO,
identifies providers available in the market, prepares contracts and negotiates
and manages provider contracting, bidding, and payment rates.

e. Contract Monitor: Institutional monitor who tracks utilization of on-site
hourly registry staff and validates the hourly inveices, These are often the
supervisor or Lead in a service area, e.g., Pharmacist I, or Lead Lab Tech, etc.

f. Chief Medical Director/Healthcare Manager: Provides in-house treatments,
reviews and approves outpatient medical needs via MARC (Medical
Authorization Review Committee). Review clinical case factors and approve
or disapprove all inpatient service requests.

g. Nursing staff: Responsible for triage, in-house inpatient and outpatient care,
clinical notes, census reports, review charts and documentation of all
returned inmates to determine if additional care is needed, and assisting
clinicians in all patient care issues.

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h. Specialty Clinic staff: Coordinates internal specialty care services and
external medical visits including scheduling, and confirms visits with
external providers. Also prepares Form 7252 and uses IMSATS to track
schedules of all medical visits.

i. Urgent Care Clinic staff: Manage urgent care needs of inmate, enter and track
IMSATS data.

j. Health Record Technician: Enters inpatient census data onto CADDIS and
selects appropriate diagnosis and procedure codes based on service
description provided by Triage Nurse on the Daily Census Report.

k. Utilization Management Nurse: Enters data from Request for Service (RFS)
from, OPHU (Outpatient Housing Unit) form, emergency referral, daily
census and verbal communication from Watch Office onto the Utilization
Management Database (UMD) and documents progress notes of each
inpatient case, participates in MARC for outpatient services and documents
meeting notes, enters notes into the UMD, performs concurrent review on-
site.

3. ProdAgio Institutions: All staff members described above in the “Non-ProdAgio
institutions” section are also touch points with the exception of the HCCUP Analyst
responsibilities, which are centralized at PC&IB. In addition to the staff in each
institution, PC&IB has the following touch points:

a. Pilot Medical Contract Unit: Responsible for regular contract management
process including the negotiation and management of contracts and payment
rates.

b. Pilot Contract Bidding unit staff: Responsible for contracts requiring bidding
processes and their associated rates and ranking of providers,

c. Support Service Unit staffs (Staff Service Analyst - SSA and Associate
Governmental Program Analyst - AGPA) who are responsible for
management reporting, coordinating with each institution to ensure the
timely submission of accurate utilization data and proper coding of all
invoices,

d. Invoice Processing Unit staff: Responsible for processing all invoices
including invoice scanning and indexing for the ProdAgio institutions using
ProdAgio, CMD, OBIS and select pricer application when applicable.

e. Post Review Unit Staff: This is anew unit formed to perform retrospective
review of claims payment in relationship to the corresponding contractual
agreement.

4, Regional Accounting Office (RAO) and State Comptroller’s Office (SCO)
a. Mail Room staff: Receive and sort invoices from non-ProdAgio institutions.

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b. RAO ProdAgio Invoice Processing staff: Review invoices processed by the
PC&IB invoice processors and approved by the Health Care Manager or
Administrator of each institution, assign Claims Schedule Number, match
G/L accounts to each invoice, adjust invoice if needed, forward invoices for
management approval within RAO, enter data into CALSTARS for check
processing.

c. RAO Non-ProdAgio Invoice Processing staff: Sort and track all invoices for
all non-ProdAgio institutions, forward invoices to each institution for
processing, receive processed and approved for payment invoices and enter
into CALSTARS for check processing, and forward Revolving Account
invoices for final approval and check processing within RAO.

d. RAO Check Processing staff: Process and cut checks for all approved invoices
fall under the Revolving Account.

e. SCO staff: Process and cut checks for all approved invoices not under the
Revolving Account.

Given the touch points that have been listed, the current business process from an inmate
requesting medical attention to an off-site provider receiving a payment consists of three major
components:

1. Medical Scheduling and Visit
2. ProdAgio Invoice Processing
3, Non-ProdAgio Invoice Processing

Finding #3: The medical scheduling and visit processes are generally the same for all
institutions regardless of whether they are ProdAgio institutions or not. However, some
institutions use more desktop applications such as MS Access or Excel to help them track
information and data while others still depend largely on handwritten notes, forms or log
books. The high level business process flow in Exhibit 4 below provides an overview of the
medical scheduling and visit process,

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1.

Exhibit 4

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inmate Ketums

Concurrent Review &
Discharge Planning

An inmate enters into the medical care system via the following entry points. These entry

points are all tracked and routed via handwritten forms or hard copy print outs from a

desktop application such MS Access or Excel:

a. Chronic Care Program (CCP) - this program tracks inmates with long term chronic
diseases such as diabetes, asthma, HIV.

b. New Inmates — every new inmate is required to have a physical check up. Check-ups
are performed on-site.

c. CDC 7362/Triage Nurse — inmates complete this form to request medical attention. This
form is collected and triaged by triage nurses.

d. Release from community hospital — inmates who may require additional care when they
are released from off-site inpatient care.

e. External OP follow up care — any follow up care that is deemed medically necessary.

f. External x-ray and lab — special diagnostic radiology or laboratory services or other
ancillary services that an institution cannot provide on-site.

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g. Public Health System — this system plans and deploys vaccination or immunization or
screening services such as TB screening and flu shots.

h, Emergency incidents.

_ 2, Ateach entry point, a Request for Service (RFS —- CDC 7243) form is handwritten by
clinicians or nurses for each service. This form is then forwarded to Unit Office Technicians
(OT) to enter basic information onto IMSATS pending UM (Utilization Management)
review. The form is then forwarded to Specialty Clinic LVN to schedule for appointments
and to UM (Utilization Management) nurses for authorization and MARC (outpatient
services only). The Unit OT and Specialty Clinic LVN use a desktop-based application
developed using MS Access called IMSATS (Inmate Medical Scheduling and Tracking
System) to schedule both on-site and off-site appointments.

3. Before midnight of each day, OPHU (Outpatient Housing Unit) nurses prepare Daily
Census Reports which track both on-site and off-site inpatient census and movement, e.g.,
discharge dates, This hard copy census report is then distributed to the following key
individuals for further processing as part of the Medical AM Report:

a. Specialty Clinic LVNs enter the census data and then schedule both on-site and off-site
appointments in IMSATS. For off-site appointments, the LVN will also create Form 7252
(Request for Temporary Release Removal for Treatment) which is routed for approval
signatures from various management team members prior to inmates being sent for off-
site medical care.

b. HRT (Health Record Technician) in Medical Records enters inpatient census data into
CADDIS (Census and Discharge Data Information System). Admission numbers
generated by this application are then shared with the HCCUP (Health Care Cost and
Utilization Program) analyst to be entered into the CMD (Contract Management
Database) for invoice processing and tracking purposes.

c. UMRNs enter the census data into the UM database (Utilization Management
Database). UM nurses document progress notes when they perform concurrent review
and discharge planning on these inpatient cases.

d. HCCUP Analysts enter information in CMD to estimate the cost of care. HCCUP
analysts also receive an admission number from the CADDIS system and then enter the
number in CMD.

4, Prior to the appointment date (usually a day prior), the on-site appointment schedule
reports are distributed to all relevant entities (e.g., clinicians, nurses, watch office, etc.) On-
site services are provided accordingly.

5. For off-site visits, an outside facility medical appointment schedule is distributed to
AWHCS (Associate Warden for Health Care Services), Medical Transport Unit/Lieutenant,
Watch Office, OPHU, HRT, HCCUP analyst, etc. Once CDC 7252 is signed and released,
inmates are transported for off-site medical visits accordingly. Off-site visit preparation
usually takes longer due to security needs,

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6. Insome cases, inmates can refuse scheduled medical care. In such circumstances, an inmate
is required to complete and sign a CDC 7225 form indicating his or her reasons for refusing
care, The refusal rate is estimated at 25 percent based on interview results from CRC
(California Rehabilitation Center).

7. For on-site visits, follow up appointments or service conclusion, notes are handwritten on
the daily appointment schedule report by clinicians or nurses and then routed back to the
Unit OT to-schedule the next appointments.

8. When inmates return from an off-site visit, they are processed by the OPHU RN
immediately upon their return to the institution. The OPHU RN forwards a copy of the RFS
(CDC 7243) and institutional discharge summary, and/or physician service requests to the
Specialty Clinic’s RN to follow up on any required diagnostic testing, appointments or
treatments.

Finding #4: The adoption of ProdAgio reduces the amount of hard copy inter-office mail
transfers, but this centralization does not appear to have reduced manual data entry efforts
nor enhanced claims payment capabilities. Use of ProdAgio has actually increased data entry
requirements. The OCR (Optical Character Recognition) application called Captiva allows
PC&IB staffs to scan and capture select data points on invoices and enter them into ProdAgio.
However, due to its low success rate (approximately 40 percent), manual fixes and indexing are
needed for the invoices that fail the scanning process and to enter additional data points, In
addition, PC&IB staff are still required to enter the same information into an institutional
specific CMD database for utilization tracking. Invoice payment amounts are still calculated
manually via review of a hard copy contract, calculator, cheat sheets, or a pricer application.
The high level business process flow in Exhibit 5 below provides an overview of the ProdAio
invoice processing process.

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Exhibit 5

“Monthly H08 Report Reconciltati

1. As described in the diagram, providers submit invoices for services delivered to inmates
residing in ProdAgio institutions (currently six institutions) to PC&IB in Sacramento
directly.

2. Invoices are scanned using an OCR (Optical Character Recognition), ie., Captiva, which is a
software application bundled with ProdAgio. The success rate of this scanning software is
around 40 percent. Due to this low success rate, manual data entry is performed for those
elemerits that failed the OCR scanning process.

3. Once an invoice is scanned, critical fields in invoices are indexed, e.g., Invoice Number, Date
of Service (DOS), Facility ID, Vendor Name, etc. An Invoice Priority is also assigned at this
time by the indexers. Each indexer has a “cheat sheet”, which lists those vendors that are
required to be rushed or to be paid promptly, to help them flag the Invoice Priority
accordingly.

4, When indexing is complete, the invoice processing supervisor assigns invoices to the invoice
processors via the ProdAgio workflow function. Invoice processors are assigned work
based on institutions rather than familiarity with the type of invoices, e.g., inpatient vs.
physician invoices. There are currently 13 invoice processors in PC&IB processing invoices
from 6 institutions. These individuals process a total of approximately 300 invoices per day
(50 invoices per institution per day).

5. Invoice Processors enter additional “Invoice Level” (known as Ciaim level in a commercial
health plan) data manually in ProdAgio, Data point examples entered in ProdAgio are:
CDC Number, Contract Number, Facility ID, Invoice Number, Service Dates, Fiscal Year,
PCA Code and invoice amount.

6. In addition to entering data in ProdAgio, Invoice Processors also enter “Invoice Level” and
“Invoice Line Level” (known as Claim Line level in a commercial health plan -claim lines

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10.

11.

12,

contain procedures and detailed services for a patient and the corresponding service dates
for each) data in CMD for statistical tracking and pricing in some cases. Data point
examples entered in CMD are: CDC Number, Contract Number, Facility ID, Invoice
Number, Service Dates, Fiscal Year, PCA Code, Diagnosis/Procedure Codes and invoice
amount.

Invoice processors rely on hard copy contracts or personal and historical knowledge about a
particular vendor/provider to price each invoice, even if he or she is using a pricer tool
(which is similar to a calculator). For example, the invoice processor must manually enter
the mark up or mark down percentage applicable to a certain provider (via Contract
Abbreviation for each contract) in the RVP Pricer to correctly price the invoice payment for
that provider.

Once the paid amount priced from various pricer applications, e.g., RVP Pricer, and/or
CMD, is priced, the amount is then manually entered in ProdAgio. The amount is examined
and cleared by the PC&IB invoice processors and the invoice is then routed to the
corresponding institution’s Health Care Manager or Administrator for final review and
approval.

The Health Care Manager or Administrator at each institution reviews and makes an
approval or “adjustment needed” decision on each invoice via the ProdAgio workflow
function. This iterative process between the reviewer and invoice processor continues until
an invoice is approved by the institution’s Health Care Manager or Administrator. The
approved invoice is then routed to the appropriate RAO for further adjustments or discount
applications.

RAO staff members.are assigned work based on vendor names in alphabetical order. Once
the RAO staff member receives the approved invoice via the workflow function in
ProdAgio, he or she assigns a “Claim Schedule” number to a batch of invoices which
usually contains approximately 12 vendors and 135 invoices per Claim Schedule, It usually
takes about three to four days for a Claim Schedule batch to be ready for check processing.
In addition to entering the Claim Schedule number in ProdAgio, the RAO staff person also
makes adjustments to each invoice for General Accounting purposes, e.g., change vendor's
Federal Tax ID to be compliant to the CALSTARS format so that the corresponding G/L
account can be matched or a discount can be applied to small business vendors. Once an
RAO staff member completes a batch of invoices, he or she will then enter select data fields
onto CALSTARS.

The RAO staff member performs reconciliations on a Claim Schedule basis, He or she
usually downloads the batch data in Excel and performs simple calculations to make sure
that the total amount reconconciles. Once this reconciliation is complete, the entire manila
folder containing the invoices is then forwarded to the RAO supervisor for approval before
check processing. For those vendors that can be paid out of the Revolving Account, checks

_are processed at the RAO; otherwise, all other checks are processed in the State

Comptroller’s Office (SCO).
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13. RAO staff members receive a monthly H09 report which is generated by CALSTARS. RAO
staff do not use this report to do monthly reconciliations. Instead, it is referenced only if a
provider inquires about the status of an invoice. This monthly report contains a range of
check numbers applied to a Claim Schedule. Therefore, neither check numbers nor check
dates are entered in ProdAgio or CMD for final reconciliation.

Finding #5: Non-ProdAgio invoice processing processes are paper-based and labor intensive.
The entire process also contains several redundant or unnecessary steps. In addition,
recruiting for a qualified or retaining a trained HCCUP Analyst is difficult in some cases.
The inter-office mail transfers between RAQOs and institutions are intensive due to incomplete
information on invoices which require the RAO staff to re-route invoices to the correct
institutions. Based on a review of the FY 2006-2007 Statewide CMD database, thirty-seven
percent of the invoices (6,245 out of a total of 17,090 “No Pay” invoices — see more detail in table

_ under Finding #9) were not paid due to the “Inmate not at this Institution” reason, which
represents approximately 2.6% of the total 241,731 invoices processed. The HCCUP Analyst
relies heavily on personal knowledge and cheat sheets to price claims. There does not appear to
be any “real” audit in place other than the final review and approval by the Health Care
Manager or Administrator at each institution. Although experienced Health Care Managers
often spot errors and incorrect payments, these individuals do not have time to review each
invoice thoroughly. In addition, these individuals generally do not have medical coding
backgrounds, Although some are experienced enough to catch coding irregularities, there is no
systematic way to perform these coding checks. The high level business process flow in Exhibit
6 provides an overview of the Non-ProdAgio invoice processing process.

Exhibit 6
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1. Non-ProdAgio invoices are submitted to the designated Regional Accounting Office (RAO)
assigned to each institution. RAO staff manually sort each invoice by institution based on
personal knowledge or invoice addresses or some other information on the invoice, e.g.,
CDC Number, which is not always available.

2. Once institution-specific invoices are sorted and batched, the RAO staff enters basic invoice
information in an MS Excel spreadsheet and prints out a hard copy to serve as the face sheet
for each batch. The invoices are sent to the HCCUP analyst at the corresponding institution
via the CDCR’s inter-office mail system,

3. When the HCCUP Analyst receives the inter-office mail, he or she verifies invoices with the
face sheet data to ensure the receipt of all invoices.

4. HCCUP Analysts sort hard copy invoices by type, e.g., per diem, registry, RVP, Medicare
Fee Schedule, etc. At this time, if the batch contains non-medical invoices, he or she will
return the invoices to RAO for non-medical invoice processing. If the invoices belong to
another institution, he or she can choose to return the invoices to the RAO or forward them
directly to the institution to which the invoices belong. The following steps are then
manually performed for each invoice:

a. Registry invoices (hourly invoices) are forwarded and verified by Contract Monitors
who are usually the supervisor or lead of each service area, e.g., Lead Lab Tech or
Pharmacist II, who signs the time card for the hourly registry staff.

b, All other invoices (RVP, Medicare Fee Schedule, Per Diem, etc.) are priced based on a
review of the hard copy contract for the invoiced vendor or based on the HCCUP
Analyst’s personal and historical knowledge of the invoiced vendor or a simple “cheat
sheet” taped on the cubicle wall. The priced amount is then handwritten on each
invoice.

c. HCCUP Analysts also verify inmate status using OBIS. If an inmate belongs to another
institution according to OBIS, the invoice will be returned to the RAO for further action.

d. If contractual disputes or issues are observed, the HCCUP Analyst will work with the
Institutional Contract Analyst to resolve these issues or disputes. The Institutional
Contract Analyst may contact the provider if there is a need to do so at this time.

e. HCCUP Analysts also verify the medical necessity of services performed and admit and
discharge dates for each inpatient invoice.

5. After the “paper processes” are complete, the HCCUP Analyst enters invoice data in CMD.
A batch number is assigned for each batch for tracking purposes. Pay Stickers are printed
for each batch and a Pay Sticker is then attached to each invoice.

6. An invoice batch along with a “calculator print out” of the invoice balance for the batch is
then sent to the Health Care Manager or Administrator for approval.

7. Upon approval by the Health Care Manager or Administrator, the invoice batch is then

- forwarded back to RAO for G/L processing.

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8. When the RAO staff member receives the batch from the HCCUP Analyst, he or she assigns
_ the Claim Schedule number to each batch. The RAO staff member enters basic invoice data
(e.g., Tax ID, Invoice amount) along with the Claim Schedule number in CALSTARS.

9, The RAO staff member also updates the MS Excel spreadsheet, which was originally used to
create the face sheet when the invoices were forwarded to each institution for invoice
processing, and perform basic reconciliation. A hard copy is then printed to be attached to
each Claim Schedule folder then routed for approval by the RAO Management for check
processing.

Finding #6: On-site services are tracked using IMSATS (a desktop MS Access scheduling
application). However, the data are not tracked in a way that can be used for standard
reporting purposes. IMSATS is used by Unit OTs, Specialty Clinic LVNs and RNs, Urgent Care
OTs, Dental OTs and Vision OTs. However, they are all independent stand alone desktop
databases which contain information related to inmates, services provided, service dates, and
providers. The inherent problems in using IMSATS are:

1. There are no uniform back up policies and procedures in place to back up the IMSATS data
ona regular basis. IMSATS is a desktop MS Access based database application. Should
there be a computer crash or corruption occurrence on the desktop on which this database
resides, the corresponding on-site services and scheduled appointments would be lost _
without appropriate back up procedures in place and the enforcement of such procedures.

2. IMSATS databases appear to be segregated. There does not appear to be a process currently
in place that combines IMSATS data from each unit within the same institution in a central
database for reporting and historical tracking purposes.

3. IMSATS databases are not shared between departments or units. For example, UM nurses
do not have access to the Specialty Clinic’s IMSATS data for them to view the medical
history of a particular inmate when they authorize a service or perform concurrent review
of an inpatient case.

4. Statistics tracked in IMSATS do not use industry standard coding and instead the codes
appear to be “home-grown.” It is not clear to NCI whether these codes are used across all
institutions uniformly. Use of “home grown” codes can make reporting more cumbersome
and benchmarking against external sources difficult, if not impossible.

5. Service unit tracking is not standardized in IMSATS. For example, in at least one location,
the on-site radiology suite tracks services by the service description only, e.g., hand, chest or
abdomen. Standard procedure codes (CPT/HCPCS) are not used; therefore, service units
cannot be determined. We did not visit the on-site lab or pharmacy during our site visits. It
is worth noting that service units for these service areas are critical in determining their
corresponding utilization level.

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Finding #7: ProdAgio and CMD are not designed for medical claims processing. Currently,
CMD is used to track provider/vendor contract information (to be replaced by ProdAgio) as
well as tracking invoice payment history and utilization statistics. ProdAgio is used, primarily,
for its document management and workflow functions. Neither application has any claims
adjudication functions in place currently. A typical commercial medical claims processing
system can store and manage multiple contractually agreed upon rates and fee schedules and
the corresponding effective and term dates for such agreements. These systems are also
designed to flag, alert, suspend or approve claims payment based on various preset business
logic and rules. When a claim is entered in the system, the system applies the preset business
logic and rules applicable to each provider/vendor contracted rates, validity of inmate status, .
service necessity, authorization requirements, and other business rules and then prices each
claim and the associated claim lines accordingly. The system is also designed to automatically
alert claims adjudicators if there is a potential duplicate claim that has already been paid. With
an effective claims processing system in place, invoice processing staff can then concentrate on
“adjudicating” the claims, i.e., review and research those claims that require additional
attention, Table 12 list functions that are typical in a medical claims processing system (An “X”
under the corresponding column indicates that such function exists or is actively being used in
CMD or ProdAgio, An “X-” indicates that some capabilities exist, but the system does not have
the full functionality described.)

Table 12
Standard Medical Claims Processing System Capabilitie

Integrated with an OCR scanning software to receive standard

claim forms statistics such as UB 04 or HCFA 1500,

e® Can receive proprietary electronic claims, HIPAA EDI transaction
such as 837] (electronic version of UB 04) or 837P (electronic
version of HCFA 1500) directly from providers without any
manual data entry.

* Has batch processing capabilities to process multiple claims.

e Has the ability to receive encounter data (on-site services)

bypassing the rigorous adjudication processes.

* Link to member's (inmate’s) demographic information via a X- X-
member or subscriber ID (CDC #).

® Store provider/vendor relationship and the agreed upon rates x x
along with effective and term dates

e Pull up provider/vendor demographic data when a Tax ID or X- X-

Provider ID is selected or entered

* Can store and utilize multiple versions (varied by effective dates)
of industry standard codes such as CPT/HCPCS, APC, DRG, ICD9,
revenue codes, NDC, etc.

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en

Validate service codes billed by the provider are correct, e.g.,

group to a payment DRG based on the ICD-9 diagnosis and

procedure codes provided on the invoice and then validate the

DRG against the invoiced DRG before payment is determined.

* Has or can be integrated with a coding grouper module or

'_ application such as DRG or APC grouper, ete.

* Validate if codes used are current based on date of service before
pricing a claim for a % of Medicare Fee Schedule arrangement as
Medicare updates fee schedule on a regular basis.

¢ Integrated with the services allowed (benefit design) per
provider/vendor type, e.g., a podiatrist should not be billing fora
cardiac surgery service, or a physician should not be billing for an

inpatient facility service.

* Contain various pricing methods, e.g., Per Diem, Per Diem with
Not to Exceed clause, tiered per diem, DRG, APC, Medicare Fee
Schedule, % of Medicare Fee Schedule, % of Billed Charges, ASC
rates, case rates, etc.

* Price claims or denied payments at the claim line level for each
service code and flag invalid code based on the preset business
criteria, e.g., female procedures cannot be billed for a male patient.

¢ Apply discount on the claim line level, e.g., apply a 50% discount
on the second procedure done during the same surgery session.

¢ Can process interim invoices and link these invoices received for a
patient who is still an inpatient.

* Can handle bundled services with “spanned billing”, e.g., multiple
physical therapy sessions, mental health sessions, etc.

¢ Has auto-adjudication function that allows certain claims meeting
the preset business criteria to be paid as soon as they pass the
business rules.

* Perform basic service date validation against various date criteria, X- X-
e.g., discharge date cannot be less than the admit date, etc.

e Automatically flag claims that failed preset business criteria, e.g,
potential duplicate claims.

* Integrated with the UM for authorization information. Suspend
claims if authorization information is required but not found
based preset business criteria.

¢ Has a claims supervisor assignment and tracking mechanism in x-
place which allows the supervisor to assign and track workload to
adjudicators.

* Contain workflow function which allows routing of claims for Xx

approval and review based on preset business criteria.

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vias

¢ Contains a pre-defined operation or production reports, e.g., xX- X-
claims processed per FTE per day, open claims, claims cycle, etc.
which allow productivity management and workload
management,

e Integrated with an AP (Accounts Payable} module or has the

ability to batch adjudicated claims data to another financial

application such as SAP for AP processing.

As indicated, neither CMD nor ProdAgio contains the most basic claims processing functions of
a typical medical claims processing system. Therefore, regardless of whether an institution
adopts ProdAgio or not, PC&IB invoice processors or the institutional HCCUP analysts are still
pricing claims using very primitive methods, i.e., personal knowledge or memory, look-up on a
hard copy contract, talking to the contract analyst, cheat sheets containing rate information, a
default mark-up number (e.g., 130 percent of Medicare Fee Schedule), or paying 100% of billed
charges. The ability to identify duplicate claims or invoices is largely based on personal
memory or knowledge. Neither ProdAgio nor CMD has an effective function that will
automatically alert or flag the claims or invoice as a potential duplicate or paid claim or invoice.
ProdAgio appears to have some functions that identify duplicate claims based on authentication
processes. The April Management Alert report published by the Post Review Unit indicated
that ProdAgio did not identify duplicate claims effectively.

Finding #8; There is no standard data capture protocol in place throughout the entire health
service and invoice processing spectrum, Based on a review of the statewide CMD database,
which is the primary database used to store all hospital inpatient, hospital outpatient, physician,
registry and ancillary invoice payment data, the data points collected for each invoice are basic
and “trade invoice” in nature. CDCR will need to differentiate and understand the differences
between a trade invoice and a medical claim. A medical claim typically contains several distinct
services or procedures performed during the same visit. These services and procedures
provided should be captured and priced separately.

In order for health plans to capture data for reporting and quality measurement purposes, the
table presented below lists “adequate” data points that should be captured either through
claims/invoices or encounter statistics. Basic edits for each field are also listed for reference
purposes. The Claim Types are described as follows:

M = Outpatient Medical, ancillary or physician services (HCFA 1500)
H = Hospital inpatient services (UB 04)

Claim level data points are listed in Field IDs 1 to 42 and claim line level data points are listed
between Field IDs 43 and 51. Multiple claim lines can be linked to one specific claim. A typical

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relational database would keep claim level and claim line level data in separate tables as it is
done in CMD, i.e., tblInvoices, tbIMain and tblProcedures. Pharmacy specific data are not listed
as this service is currently managed by an independent entity and beyond the scope of this
engagement, Based on a review of the Statewide CMD database (2006-2007 fiscal year), we
have also listed the CMD Table Names and Column Names matching with these data points.
As of the writing of this report, we were not provided with a sample of IMSATS database to
perform a. similar matching activity for this database. However, in order to track and monitor
the utilization profile for the entire CDCR population, it is critical that both on-site and off-site
utilization statistics be captured and consolidated into one relational database for management
reporting purposes. -

Table 13
Standard Medical Claim Fields

Conditional. Duplicate check is defined based on thlMain:InvID +
. a select few data points, e.g., records with thlInovices: InvID
Duplicate . . : : .
1 record identical provider, patient, date of service, place Y|¥ + InvNo +
of service, services performed, and same claim tblINoPay: InvNo +
type. NoPayReson
Claims
Reference Required. A system generated number unique to tbhlInvoice: InvID
2 , Y/Y
Number each claim or invoice. or InvNo
(CRN) .
Required. Defines what type of claim or type of
services performed +
3 | Claim Type M = Outpatient medical, or physician services Y|¥ ate or
(HCFA 1500)
H= Hospital inpatient (UB 04)
Conditional. Adjustment Code required when
Adjustment Adjustment CRN is present. Adjustment code
4 ; . Y|Y
code must be a valid code (e.g., 1 = Void or 2 =
Corrected). Null, ifno Adjustment CRN.
Conditional, Adjustment CRN required when
Adjustment Adjustment Code is present. Adjustment code
5 . Y|Y¥Y
CRN and Adjustment CRN are needed to track
adjustments made to previously paid claims.
Required. This is a number assigned to each
Subscriber or | member in a health plan for a particular product
6 Member ID line. This ID links to the membership profile ands ¥ | ¥ | thiMain: CDCNo
would be the equivalent of CDC # for inmates.
7 | Son Optional. Social Security Number became more yly
sensitive after the implementation of HIPAA.

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) T is was often used as the common data point to
identify members when Member ID was not
found.
Membershi Check all enrollment records to determine if
8 eligible P| member is eligible for date of service. OBIS or OBIS or DDPS
6 DDPS is used to validate inmate manually.
9 Member Last Required. Member Last Name tblMain: Lname
Name
Member .
10 Middle Name | Optional.
M Fi
li ember First Required. Member First Name tblMain: Fname
Name
Required. Date format is CCYYMMDD. Birth
date < today’s date. Birth date must match
member’s birth date on the system (90 day
12 | Birth date allowance for newborns. This is probably not
applicable to CDCR population). Birth year
should be reasonable, e.g., adult prison age
limitation check.
13 | Sex code Required. Must be either M = Male or F = Female. tblMain: Sex
Required. Validate against provider number in
the system. If blank or not found, flag for further
action. The Provider ID should be pre- :
on: ‘ : we : thlMain:
Billing determined based on business criteria unique to .
14 : sas ProviderID+FacNo
provider each organization. For example, + tblProviders
M - If the billing provider is a physician, must be
license #, otherwise, must be fed tax id or SSN.
H — must be fed tax id of billing facility
Required. Provider type codes are board category .
: tat : tblMain:
of codes differentiating general provider groups, .
. . . os ProviderID+FacNo
15 | Provider type | e.g., hospital, non-physicians, physicians, .
: . + tblProviders:
ancillary, etc. These codes can be defined by each
+ gs . : ope ProvDegree
organization based on its business criteria.
Conditional. Required when provider type is an fbIMain:
. ga us . ProviderID+FacNo
16 | Specialty code | individual practitioner, e.g., physicians, nurse + thlProviders:
practitioner, podiatrist, etc, . ,
Specialty
Conditional. Required for inpatient stays. Type of tbiMain: BillType
17 | Bill Type Bills codes are used for UBO04 claims which (not used in the
YP indicate the place of service and if the claim is an same way)
interim bill or final bill, Use standard UB04 codes. ¥
18 | Admission Conditional. Required for inpatient stays. This

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code indicates how a patient is admitted to a

facility, e.g, emergency, or elective, etc.

Conditional. Required for inpatient stays.
Admission Admission date must have valid date format

I tblMain:

9 date CCYYMMDD, less than or = to date of discharge, Main: AdmDt
and must be < today’s date
Conditional. Discharge date must have valid date
Dischars ° format CCYYMMDD, greater than or = to
20 date & admission date and must be < today’s date. tblMain: DischDt
Discharge date is optional because an interim bill
can be submitted while a patient is still admitted.
Discharge Conditional, Required for H and L records when
21 . .
Status Code a discharge date is present.
Begin Service Conditional. Claim level service date required for tbIMain:

22 M and P records. It can be the same date as

Date +s : . . BegServDt
Admission Date if an inpatient stay.
End Service Conditional. Claim service date required for M & tbIMain:

23 P records and H/L records if null discharge date.

Date . . . : EndServDt
When inpatient stay, it can be equal to Discharge.
Conditional. Required for LTC and hospital.

Admitting Match license # or Tax ID. If not matched, flag.

24 . : “as “4: :
provider Validate that it is not = to billing provider. If= to

billing provider or blank, flag for further action.
Optional. Conditional for M records, must be
Refertin provided when PCP makes referral. Match license
25 TINE # or Tax ID. If not matched, flag. Validate that it
provider . ais . wa: .
is not = to biliing provider. If = to billing provider
or blank, flag for further action,
Conditional. Required for M records when the
Rendering provider is a physician, physician assistant,

26 : certified pediatric or family nurse practitioner,
provider eps vy ‘es wo

certified nurse midwife or certified physician
assistant, based on provider type code.

ov | DRG Conditional. Diagnosis Related Group is required tbIMain: DRG

for an inpatient stay.

28 Primary Required. Primary diagnosis must be valid ICD9 tblMain:
diagnosis diagnosis code. ICD9DiagCode
Secondary Optional. Secondary diagnosis must be valid

29). ‘ : .
diagnosis ICD9 diagnosis code

30 Tertiary Optional. Tertiary diagnosis must be valid ICD9
diagnosis diagnosis code,

31 | Primary Optional. Primary surgical procedure must be tblMain:

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surgical 9 procedure code. ICD9ProcCode
procedure
30 veconey Optional. Secondary surgical procedure must be
BN valid ICD9 procedure code
procedure
43 meray Optional. Tertiary surgical procedure must be
6 valid ICD9 procedure code
procedure
Adjudication Required. Adjudication status code can be
34 defined by each organization indicating whether a
status code , oe :
claim is paid, denied, or suspended, etc.
tblMain:
Denied Conditional. Ifa claim is denied or suspended, a FacNo+RecNo +
35 :
Reason Code | reason code must be accompanied. tbINoPay:
NoPayReson
Required. Date format: CCYYMMDD, numeric
36 Adjudication | and greater than zero. Adjudication date < today’s tblInvoice:
date date Adjudication date must be > or = to date of ToAcctDt
service.
tblInvoices: _
Conditional, Must be valid date format HO9RunDt (not
37 | Paid date CCYYMMDD, Required for records with exact paid date
Adjudication Status = Paid. Paid date must be > but this is the
date of service Paid date must be < today’s date. closest date to the
paid date)
38 Claim Billed | Required. Amount billed by the billing provider. tblInovice:
amount InvAmt
Claim Paid Required. Amount paid to the billing provider. tbIMain:
39
amount RecordAmtPd
tibl
4g | Deductible | Optional. Not applicable to CDCR
amount
ay | Coinsurance | Optional. Not applicable to CDCR
amount
42. | Dava sta Optional. Must be greater than zero. Can be
ye ray calculated based on admit and discharge dates.
43 Revenue Conditional. Revenue codes are required for
Code inpatient stays (Use standard UB04 codes)
Required. Date format: CCYYMMDD, numeric
-Beginni :
Beginning and greater than zero. Beginning date of service tblProcedures:
44 ._, | must be < or equal to End date. Beginning date of
date of service , ; . . ProcDt
service < today’s date. Beginning Date of Service
must be > or = to admission date.

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L Require _ Date format: CCYYMMDD, numeric
and greater than zero. Ending date of service
Ending date must be > or equal to beginning date of service.

45 , , ' , YY
of service Ending date of service < today’s date. Ending date

of Service < or = to discharge date, only if both
admission and discharge dates are provided.
Place of Conditional. Required for M records. Place of

46 . . . Y
service code service code must be valid code.

47 Procedure Conditional. Required for M records. Must be y tblProcedures:
code valid procedure (CPT/HCPCS) codes. CPTCode
Procedure . , vps tblProcedures:

48 modifier Optional. Must be valid procedure modifier. Y Modifier

: . tblProcedures:

49 | Service Units Required. Must be numeric and greater than yly NoProc or

Zero, .
AnesMin
Claim Line . .
50 | Billed Required. Must be numeric and greater than yly tblProcedures:
zero, Total should tie to Claim Billed Amount. ProcBilled
Amount
Claim Line Optional. Each line item can be priced and paid tbIProcedures:

51 . separately. Total should tie to Claim Paid Y|¥

Paid Amount Amount ProcPd

1.

On-site services (registry services, most primary care, dental, vision, select routine
diagnostic radiology) are captured only in the IMSATS scheduling system. As identified
previously, IMSATS databases are developed using a desktop MS Access application. We
are not aware of a process in place to consolidate desktop IMSATS databases into one
institutional IMSATS database, which makes institutional reporting very difficult. In
addition, there is no known process in place to consolidate all IMSATS databases into a
statewide IMSATS database as is done for CMD.

The data captured in IMSATS appear to include only very simple scheduling information. It
appears that a simple “home grown” service code listing is used to indicate services
scheduled but it is not clear if these service codes used in IMSATS are used across all

institutions.

Hourly invoices do not contain information related to specific services provided. It would
be possible to link these hourly invoice statistics to the providers who submitted the

invoices via the IMSATS database, which tracks patients scheduled for specific providers by _
date. However, we are unaware of any such reconciliation process in place.

CMD contains primarily invoice data, which includes registry hourly, registry fee for

service, hospital inpatient and outpatient, physician, dialysis, lab and radiology. Data

points collected for these invoices are not comprehensive. For example, it collects only the
primary ICD-9 diagnosis code and primary ICD-9 procedure code for each invoice only.

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5. Provider IDs used to link to vendors and invoices are institution-specific. This makes
reporting very cumbersome and difficult, A more detailed description of findings and
recommendations in this regard can be found in the “Provider Network Development”
section.

6. Many data fields in CMD are not code-driven. Rather, end-users can manually enter data or
descriptions into CMD. This practice creates problems when management reports are run
as each institution may use different descriptions. For example, we observed that provider
degrees are entered in several different ways, e.g., MD, M.D,, etc. All of these variations
create inconsistencies, which makes reporting difficult.

7, There is no assurance that CMD data fields are populated, even for required fields. For
example, in the thIProcedures Table, 77,170 records (out of a total of 332,326 records)
contained procedure paid amounts greater than $0 while the procedure billed amounts were
$0. Paid amounts should never be greater than the billed amounts. This inconsistent
practice will make reporting results inconsistent even if the total billed or paid amount was
registered at the claim level.

8. The handling of multiple records on CMD is driven by the invoice payment. Many CDCR
providers submit a monthly invoice that contains all services provided to different inmates
on different dates. This practice is adequate and easier for check processing (cutting fewer
checks) except that it makes office visit utilization reporting more cumbersome. CMD
solves this problem by creating an extra table called tbiMain to house the middle-tier data
between claims and claim lines data.

9. Not all claim line level statistics are tracked. Based on a review of the statewide CMD
database (FY 2006-2007), the ratio between invoice and procedure record count is 1:1.37,
which seems low compared to typical utilization and billing statistics. We were told during
the site visits that not all procedures or services submitted on the claim forms are entered in
CMD.

10. Based on a review of the FY 2006-2007 Statewide CMD database, we observed several key
data fields contain blank cells or test data. For example, out of the total 10,984 inpatient
records (ServID = 02 - Comm Hosp - Inpt - Hosp), 991 records do not have Admit Dates.
Three hundred twenty-two invoice records do not have an Invoice Number recorded.
Several date fields designed to track the AP cycle in CMD were left blank. There appeared
to be 284 invoice records that were created for testing purposes (Invoice ID started with
Dummy-+numeric sequence, e.g, Duammy103.) A production database should never be used
for testing purposes as the reporting analysts may not be aware of these test records and as
a result, may fail to exclude them from management reporting. The “blank cells” problem
can be easily solved by making the critical fields “required” which means that the
processors save and exit or are not allowed to proceed to the next step if a required field is
left blank.

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